                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                       EASTERN-WATERLOO DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR00-2032-LRR
                                                           No. C04-2027-LRR
 vs.
                                                                  ORDER
 DURRELL KAYE JACKSON,
               Defendant.
                            ____________________________

       This matter appears before the court on the defendant’s motion to proceed on appeal
in forma pauperis (Docket No. 616), notice of appeal (Docket No. 618) and request for
a certificate of appealability pursuant to 28 U.S.C. § 2253(c)(2) (Docket 619). The
defendant filed his motion to proceed on appeal in forma pauperis and notice of appeal on
February 8, 2005. He filed his request for a certificate of appealability pursuant to 28
U.S.C. § 2253(c)(2) on February 22, 2005. All of the defendant’s pleadings address the
court’s January 20, 2005 order denying his 28 U.S.C. § 2255 motion.
       The court finds the defendant has submitted a financial affidavit which complies
with 28 U.S.C. § 1915 and Federal Rule of Appellate Procedure 24. Accordingly, the
defendant’s request to appeal in forma pauperis is granted.
       In a 28 U.S.C. § 2255 proceeding before a district judge, the final order shall be
subject to review, on appeal, by the court of appeals for the circuit in which the proceeding
is held. See 28 U.S.C. § 2253(a). Unless a circuit justice or judge issues a certificate of
appealability, an appeal may not be taken to the court of appeals. See 28 U.S.C. §
2253(c)(1)(A). A district court possesses the authority to issue certificates of appealability
under 28 U.S.C. § 2253(c) and Fed. R. App. P. 22(b). See Tiedeman v. Benson, 122



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F.3d 518, 522 (8th Cir. 1997).         Under 28 U.S.C. § 2253(c)(2), a certificate of
appealability may issue only if a defendant has made a substantial showing of the denial
of a constitutional right. See Miller-El v. Cockrell, 537 U.S. 322, 335-36, 123 S. Ct.
1029, 1039, 154 L. Ed. 2d 931 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77
(8th Cir. 2000); Carter v. Hopkins, 151 F.3d 872, 873-74 (8th Cir. 1998); Cox v. Norris,
133 F.3d 565, 569 (8th Cir. 1997); Tiedeman, 122 F.3d at 523. To make such a showing,
the issues must be debatable among reasonable jurists, a court could resolve the issues
differently, or the issues deserve further proceedings. Cox, 133 F.3d at 569 (citing Flieger
v. Delo, 16 F.3d 878, 882-83 (8th Cir. 1994)). See also Miller-El, 537 U.S. at 335-36
(reiterating standard).
       Courts reject constitutional claims either on the merits or on procedural grounds.
“‘[W]here a district court has rejected the constitutional claims on the merits, the showing
required to satisfy [28 U.S.C.] § 2253(c) is straightforward: the [defendant] must
demonstrate that reasonable jurists would find the district court’s assessment of the
constitutional claims debatable or wrong.’” Miller-El, 537 U.S. at 338 (quoting Slack v.
McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 146 L. Ed. 2d 542 (2000)). When a
federal habeas petition is dismissed on procedural grounds without reaching the underlying
constitutional claim, “the [defendant must show], at least, that jurists of reason would find
it debatable whether the petition states a valid claim of the denial of a constitutional right
and that jurists of reason would find it debatable whether the district court was correct in
its procedural ruling.” See Slack, 529 U.S. at 484.
       Having thoroughly reviewed the record in this case, the court finds the defendant
failed to make the requisite “substantial showing” with respect to all of the claims he raised
in his 28 U.S.C. § 2255 motion. See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b).
Because he does not present questions of substance for appellate review, there is no reason

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to grant a certificate of appealability. Accordingly, the defendant’s request for a certificate
of appealability pursuant to 28 U.S.C. § 2253(c)(2) (Docket No. 619) is denied. If he
desires further review of his 28 U.S.C. § 2255 motion, the defendant may request issuance
of the certificate of appealability by a circuit judge of the Eighth Circuit Court of Appeals
in accordance with Tiedeman, 122 F.3d at 520-22.


          IT IS SO ORDERED.
          DATED this 4th day of May, 2005.




A copy of this document has been
mailed/faxed to all counsel of record, pro
se parties and others listed and not shown
as having been served electronically
under the cm/ecf system:
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